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                  EXHIBIT 8
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RESEARCH REPORT                                                                                                                    doi:10.1111/add.12470



Use of Silk Road, the online drug marketplace, in the
United Kingdom, Australia and the United States

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ABSTRACT

Aims To investigate the prevalence of awareness of the online illicit drug marketplace Silk Road (SR), consumption
of drugs purchased from SR and reasons for use and non-use of SR. Design and setting Global Drug Survey:
purposive sample collected in late 2012. Participants The base sample (n = 9470) reported recent drug purchase and
resided in the United Kingdom (n = 4315, median age 24, 76% male), Australia (n = 2761, median age 32, 76% male)
or the United States (n = 2394, median age 21, 80% male). Measurements Online questionnaire. Findings A total
of 65% of US, 53% of Australian and 40% of UK respondents had heard of SR; 18% of US, 10% of UK and 7% of
Australian respondents had consumed drugs purchased through SR. Across the three countries, 3,4-methylenedioxy-
N-methylamphetamine (MDMA) was the most commonly purchased drug (53–60%), followed by cannabis (34–51%),
lysergic acid diethylamide (LSD) (29–45%) and the 2C family (16%–27%). The most common reasons for purchasing
from SR were wider range (75–89%), better quality (72–77%), greater convenience (67–69%) and the use of vendor
rating systems (60–65%). The most common reasons for avoiding SR purchase were adequate drug access (63–68%)
and fear of being caught (41–53%). Logistic regressions found that, compared with people from the UK, Australians
[odds ratio (OR) = 3.37; 95% confidence interval (CI) = 2.29, 4.97) and Americans (OR = 1.46; 95% CI = 1.10, 1.94)
were more likely to use SR due to lower prices; and to avoid SR purchase due to fear of being caught (Australia:
OR = 1.65; 95% CI = 1.39, 1.96; USA: OR = 1.62; 95% CI = 1.37, 1.92). Conclusions While reasons for Silk Road
use accord with broader online commerce trends (range, quality, convenience, ratings), its appeal to drug purchasers
is moderated by country-specific deterrents and market characteristics.

Keywords            Cryptomarket, drug market, internet, new drug trends, online marketplace, Silk Road.

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INTRODUCTION                                                                     who had infiltrated the SR servers, outlined the scale of
                                                                                 its operation over its 2.5-year life-time: ‘several thousand
From February 2011 [1] to October 2013 [2], the online                           drug dealers’ distributed ‘hundreds of kilograms of illegal
illicit marketplace Silk Road (SR) enabled the interna-                          drugs . . . to well over a hundred thousand buyers’ gen-
tional trade of illegal drugs and other goods and services                       erating sales revenue equivalent to US$1.2 billion in sales
[3–9]. Online illicit marketplaces, or ‘cryptomarkets’ [7],                      and US$80 million in commissions ([12], p. 6). Despite
are located in the ‘deep web’ and accessed via Tor [10]. In                      this event, indicating that encryption technologies relied
the deep web, site owners, vendors and buyers are able to                        upon by cryptomarkets may have serious security weak-
remain relatively anonymous as their IP addresses are                            nesses [13], a new SR was launched in November 2013
masked. Purchases are made using the decentralized                               [14] and is currently expanding its operations (author’s
virtual currency Bitcoin [11], which can also be used                            observations, November 2013).
relatively anonymously.                                                              While not the only drug cryptomarket, the original SR
     In October 2013, the US Federal Bureau of Investiga-                        was the largest and most well known. We first described
tion (FBI) shut down the original SR and arrested its                            the marketplace within the academic literature [6], and
alleged founder [2]. In their criminal complaint the FBI,                        since then it has been explored through analyses of

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publicly available marketplace data [7–9] and qualitative     core media partner in the United States, the majority of
online interviews with both buyers [3,5] and vendors [4].     recruitment occurred through the social news website
SR has also been used as a tool for drug trend monitoring     Reddit (50%). The sample is purposive, and should there-
[15–17].                                                      fore not be seen as representative of drug purchasers
   In this paper, we extend this research by presenting       more generally. Ethical approval was received from the
results from a quantitative analysis of international         Joint South London and Maudsley and Institute of Psy-
survey data from a purposive sample of drug purchasers.       chiatry NHS Research Ethics Committee.
We describe the prevalence of awareness of SR and con-
sumption of drugs purchased from SR; demographic              Measures
characteristics; drug types consumed; and reasons for use
                                                              We designed questions that were informed by ongoing
and non-use of SR. As our survey was conducted in
                                                              digital ethnographic research of SR being conducted by
2012, our analyses refer to use of the original SR
                                                              M.B., which has involved participating in online discus-
marketplace.
                                                              sions and monitoring the marketplace. Based on these
                                                              observations, predetermined responses were provided for
                                                              questions about why drug purchasers did or did not
METHODS
                                                              consume drugs from SR. An ‘other’ field was also pro-
Design                                                        vided but was used only by up to 10% of respondents,
                                                              indicating that the predetermined responses were rela-
An anonymous, annual online survey of drug use was
                                                              tively adequate. Question wording can be found at the
designed and conducted by Global Drug Survey (GDS). A
                                                              ‘Internet drug access and legal highs’ section of https://
total of 22 289 responses were received between
                                                              www.globaldrugsurvey.com/mixmag2013/survey.php.
15 November 2012 and 2 January 2013. The sample
                                                                  Other variables we used included: age, sex, employ-
used in this paper was restricted to those who indicated
                                                              ment status (employed and/or studying versus neither),
that they usually bought their own amphetamine, canna-
                                                              educational attainment (university degree versus no
bis, cocaine, 3,4-methylenedioxy-N-methylamphetamine
                                                              degree), frequency of clubbing (attending nightclubs:
(MDMA), ketamine or mephedrone, or who reported
                                                              four or more times per annum versus less often), ethnicity
buying ‘legal highs’/‘research chemicals’ or any drugs
                                                              (‘white’ versus ‘other’), sexual orientation (heterosexual
online during the last 12 months (n = 11 848). Without
                                                              versus other) and how they found out about the survey.
this restriction, alcohol-only and other non-drug-
purchasers were asked why they did not use SR, which was
                                                              Analysis
usually because they did not normally buy illicit drugs and
therefore had no need to utilize the site. The base sample    Due to the sensitive nature of the information collected,
was further restricted to comprise only respondents who       IP addresses were not collected and therefore it was
resided in or used the currency of Australia, the United      impossible to eliminate multiple entries from the same IP
Kingdom or the United States (n = 9470). These countries      address. The data set was scanned for identical entries,
were chosen because the majority of vendor listings from      but none were found. We consider it unlikely that anyone
drugs on SR come from English-speaking countries [8], SR      would complete the survey more than once, as this would
is only available in the English language, the GDS survey     entail large amounts of time (from 15 minutes to 1 hour
was only available in English and these three countries       or more) for no obvious gain, as no material incentives
were the best represented in the overall GDS. Where           were offered.
country of origin was missing and a relevant currency            Of the 14 variables reported, there was a median of
was nominated (n = 555, 5.9%), we recoded country of          1.2% missing data [interquartile range (IQR) 0.7–2.2%,
origin to United Kingdom where the UK pound was nomi-         range 0.5–4.9%]. Due to the relatively low level of
nated, Australia where the Australian dollar was nomi-        missing data, we have used available-case analysis rather
nated and United States where the US dollar was               than imputing missing data. The gain of undertaking
nominated.                                                    more complex imputation is not usually justified if the
    The survey was promoted in partnership with the           proportion of missing data is minimal [18]. For
dance music magazine Mixmag, the Guardian and Fairfax         multivariable analysis, variables were retained in the final
Media, and also distributed through Facebook, Twitter,        model if the grouped effect of the variable was significant
the social news website Reddit and drug discussion            at an alpha level of 0.10.
forums. GDS successfully engaged mainstream media                Descriptive statistics are provided in this paper to
partners in the United Kingdom and Australia, where 60        provide a snapshot of respondents and responses. Unless
and 80% of respondents, respectively, reported hearing        statistical comparisons are undertaken, we have not
about the survey through mainstream media. With no            included P-values or confidence intervals (CIs) for

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descriptive statistics. Notably, as the data presented here                  only for country differences, but list at the bottom of each
are drawn from a purposive sample, where we have                             model a list of the retained covariates. We retained
reported 95% CIs for the estimates in our models these                       covariates in the adjusted model if they were significant
should be interpreted with caution when generalizing to                      at an alpha level of 0.10. All analyses were conducted
broader populations.                                                         using Stata 12 (StataCorp, College Station, TX, USA).
    To compare differences between drug buyers, we
created three outcome groups based on knowledge and
utilization of SR: (i) those who had never heard of SR, (ii)                 RESULTS
those who had heard of, but never consumed drugs pur-                        Exploring country differences
chased from, SR and (iii) those who had consumed drugs
purchased from SR. We used multinomial logistic regres-                      Prevalence of SR awareness/purchase and demographic
sion (see equation 1) to compare differences between                         characteristics of the three samples are shown in Table 1.
three countries— United Kingdom, Australia and United                        Overall, half (50%) the sample had heard of ‘the online
States—and users of SR first as an unadjusted analysis                       drug marketplace Silk Road’, but the percentage was not
(no additional covariates) and then adjusted analysis                        the same across the three countries, with the majority in
adding additional covariates. We also compare reasons                        the United States having heard of SR (65%) compared to
for why respondents had or had not consumed drugs pur-                       approximately half of Australian respondents (53%) and
chased through SR. To undertake this analysis we used                        40% of UK respondents. Of respondents who had heard
logistic regression for both unadjusted and adjusted                         of SR, approximately one-quarter of UK and US respond-
models, which uses the same formula as presented in                          ents reported having consumed drugs purchased from
equation 1; however, j* is the baseline (‘no’ response) cat-                 SR, while only 14% of Australian respondents reported
egory.                                                                       doing so. Of those who had consumed drugs purchased
                                                                             from SR, similar proportions across countries reported
                    ⎛π ⎞                                                     having purchased drugs themselves as opposed to having
                log ⎜ ij ⎟ = a j + xTi β j, where j ≠ j*,           (1)
                    ⎝ π ij* ⎠                                                a friend purchase them on their behalf.
                                                                                 Regarding demographic characteristics, the Austral-
where j* is the baseline category (never heard of SR), aj is                 ian sample was older (and somewhat more normally dis-
a constant and βj is a vector of regression coefficients for                 tributed) than either the UK or US sample (see Supporting
J = 1, 2, . . . , J − 1, for variables xi.                                   information, Fig. S1). This pattern may be an artefact of
    The demographics of interest we adjusted for included                    Fairfax Media being the primary recruitment tool in Aus-
age, sex, ethnicity, employment status, sexual orienta-                      tralia. While the UK and US samples were younger, the
tion, educational attainment and clubbing experience.                        age distribution for these countries was greatly right-
Due to the skewed distribution of age we also included age                   skewed. As shown in Table 1, both the UK and Australian
as a squared term. For the multinomial logistic regression                   sample were more likely to report employment and/or
analyses, we present data for all covariates in the model.                   studying, and to have completed a university degree,
For the logistic regression analysis, we present results                     compared with the US sample. The UK sample was more


Table 1 Prevalence of Silk Road (SR) awareness/purchase and selected demographics (%) [number missing] of full sample by country
(n = 9470).

SR use and demographics                                                   UK (n = 4315)             Australia (n = 2761)        USA (n = 2394)

SR                                                                        [41]                      [16]                        [14]
  Never heard of                                                          60                        47                          35
  Heard of: never consumed drugs purchased through SR                     29                        46                          47
  Heard of: has consumed drugs purchased through SR                       10                         7                          18
    Self purchased                                                        50                        56                          55
Age (median—IQR)                                                          24 (20–32) [42]           32 (25–41) [31]             21 (19–26) [37]
Male                                                                      76 [171]                  76 [197]                    80 [100]
Employed and/or studying                                                  78 [40]                   75 [31]                     65 [35]
Educational attainment: degree                                            49 [73]                   54 [59]                     37 [78]
Ethnicity: ‘white’                                                        93 [55]                   92 [35]                     86 [39]
Sexual orientation: heterosexual                                          81 [47]                   78 [37]                     79 [38]
Clubbing: 4+ times per annum                                              66 [106]                  39 [81]                     36 [83]

Base sample = respondents who usually buy their own drugs (including ‘legal highs’). IQR = interquartile ratio.


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likely to report attending nightclubs, probably reflecting




                                                                                                                                                                                                                                                                   Heard of: not consumed




                                                                                                                                                                                                                                                                                            0.72 (0.58, 0.88)b




                                                                                                                                                                                                                                                                                            1.29 (1.04, 1,61)a
                                                                                                                                                                                                                                                                                            0.62 (0.48, 0.80)c




                                                                                                                                                                                                                                                                                            1.37 (1.17, 1.61)c
the reach and readership of Mixmag, a UK dance music




                                                                                                                                                                                                                                                                                            1.09 (0.92, 1.31)

                                                                                                                                                                                                                                                                                            1.02 (1.00, 1.04)

                                                                                                                                                                                                                                                                                            0.98 (0.83, 1.15)
                                                                                                                                                                                                                                                                                            1.17 (0.90, 1.46)
                                                                                                                                                                                                                                                                                            0.91 (0.76, 1.09)
                                                                                                                                                                                                                                                                   versus consumed
online and print publication, in recruitment. Distribu-
tions of sex, ethnicity and sexual orientation were rela-
tively similar between countries.




                                                                                                                                                                                                                                                                                            1.00
    Table 2 presents results of the multinomial logistic
regression comparing country differences between
respondents hearing about, and consuming drugs from,
SR. The unadjusted model shows that, compared to




                                                                                                                                                                                                                                                                                            1.03 (1.01, 1.02)b


                                                                                                                                                                                                                                                                                            1.35 (1.04, 1.74)a
                                                                                                                                                                                                                                                                                            0.83 (0.69, 1.00)a
                                                                                                                                                                                                                                                                   Not heard of versus




                                                                                                                                                                                                                                                                                            1.69 (1.38, 2.07)c
                                                                                                                                                                                                                                                                                            2.62 (2.19, 3.13)c
                                                                                                                                                                                                                                                                                            0.44 (0.34, 0.57)c

                                                                                                                                                                                                                                                                                            3.17 (2.58, 3.91)c
                                                                                                                                                                                                                                                                   heard of: consumed




                                                                                                                                                                                                                                                                                            0.87 (0.74, 1.02)


                                                                                                                                                                                                                                                                                            1.08 (0.92, 1.27)
respondents from the United Kingdom, the relative risk
ratio (RRR) of hearing about, but not consuming drugs
from SR, over not hearing of SR is greater for respondents
from both Australia and the United States. In addition, the




                                                                                                                                                                                                                                                                                            1.00
comparison between the United States and Australia was
also significant [RRR = 1.36; 95% confidence interval
(CI) = 1.21, 1.53; P < 0.001]. The probability (and CI) of




                                                                                                                                                                                                        Adjusted model (n = 8597)

                                                                                                                                                                                                                                      χ2(18) = 1260, P < 0.001
not hearing about SR for each of the three countries was:




                                                                                                                                                                                                                                                                   heard of: not consumed
United Kingdom (RRR = 0.60: 95% CI = 0.59, 0.62),




                                                                                                                                                                                                                                                                   Not heard of versus




                                                                                                                                                                                                                                                                                            2.35 (2.10, 2.65)c
                                                                                                                                                                                                                                                                                            2.39 (2.11, 2.70)c
                                                                                                                                                                                                                                                                                            0.71 (0.63, 0.81)c
                                                                                                                                                                                                                                                                                            1.01 (1.00, 1.02)c
                                                                                                                                                                                                                                                                                            2.46 (2.18, 2.77)c




                                                                                                                                                                                                                                                                                            0.79 (0.71, 0.87)c
                                                                                                                                                                                                                                                                                            0.89 (0.80, 0.98)
                                                                                                                                                                                                                                                                                            1.16 (0.98, 1.37)
                                                                                                                                                                                                                                                                                            0.91 (0.81, 1.03)
                                                              Table 2 Multinomial logistic regression for hearing about, and consuming drugs from, Silk Road (SR): relative risk ratio (and 95% CIs).
Australia (RRR = 0.47; 95% CI = 0.45, 0.49) and United
States (RRR = 0.35; 95% CI = 0.33, 0.37). By contrast,
the probability of hearing about but not consuming drugs




                                                                                                                                                                                                                                                                                                                                      Employed and/or studying—removed as not significant (χ2(2) = 1.26; P = 0.534). aP < 0.05; b P < 0.01; c P < 0.001. CI = confidence interval.
                                                                                                                                                                                                                                                                                            1.00
purchased from SR for each of the three countries was:
United Kingdom (RRR = 0.29; 95% CI = 0.28, 0.31),
Australia (RRR = 0.46; 95% CI = 0.44, 0.48) and United
States (RRR = 0.47; 95% CI = 0.45,0. 49).
                                                                                                                                                                                                                                                                   Heard of: not consumed

    Compared to respondents from the United Kingdom,

                                                                                                                                                                                                                                                                                            0.45 (0.38, 0.55)c
                                                                                                                                                                                                                                                                                            1.12 (0.96, 1.31)
the relative risk of hearing about, and consuming drugs
                                                                                                                                                                                                                                                                   versus consumed



from, SR over not consuming drugs from SR was signifi-
cantly less for respondents from the Australia, but not
different for respondents from the United States. In addi-
                                                                                                                                                                                                                                                                                            1.00




tion, the comparison between the United States and Aus-
tralia was also significant (RRR = 2.44; 95% CI = 2.02,
2.94; P < 0.001). The probability of hearing about and
consuming drugs purchased from SR for each of the
                                                                                                                                                                                                                                                                   Not heard of versus




                                                                                                                                                                                                                                                                                            3.07 (2.63, 3.59)c
                                                                                                                                                                                                                                                                   heard of: consumed


                                                                                                                                                                                                                                                                                            0.93 (0.77, 1.11)




three countries was: United Kingdom (RRR = 0.10; 95%
CI = 0.09, 0.11), Australia (RRR = 0.07; 95% CI = 0.06,
0.82) and United States (RRR = 0.18; 95% CI = 0.16,
                                                                                                                                                                                                                                                                                            1.00




0.20). After adjusting for the covariates (presented in
Table 2) the patterns seen with the unadjusted model
                                                                                                                                                                                                        Unadjusted model (n = 9399)




remained, with one exception. In the unadjusted model,
compared to respondents from the United Kingdom, the
                                                                                                                                                                                                                                      χ2(4) = 522, P < 0.001


                                                                                                                                                                                                                                                                   heard of: not consumed




RRR of hearing about, and consuming drugs from, SR
                                                                                                                                                                                                                                                                   Not heard of versus




                                                                                                                                                                                                                                                                                            2.02 (1.82, 2.24)c
                                                                                                                                                                                                                                                                                            2.75 (2.46, 3.07)c




over not hearing of SR, for Australian respondents, was
not statistically different between the two countries.
However, after adding the covariates to the model this
now becomes statistically significant.
                                                                                                                                                                                                                                                                                            1.00




What drugs were purchased on SR?
                                                                                                                                                                                                                                                                                            Age2 (in 5 years)




Table 3 presents the top 20 drugs purchased from SR by
                                                                                                                                                                                                                                                                                            Age (in 5 years)




                                                                                                                                                                                                                                                                                            Heterosexual




country of residence. MDMA was the most commonly
purchased drug. More than half of respondents, in each
                                                                                                                                                                                                                                                                                            Australia




                                                                                                                                                                                                                                                                                            Clubber
                                                                                                                                                                                                                                                                                            ‘White’
                                                                                                                                                                                                                                                                                            Degree




country, reported purchasing it, mainly in powdered
                                                                                                                                                                                                                                                                                            Male
                                                                                                                                                                                                                                                                                            USA
                                                                                                                                                                                                                                                                                            UK




(crystal) form. Cannabis was ranked in the top four drugs

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Table 3 Top 20 drugs purchased from Silk Road (SR) by country of residence (n = 1036).

              UK (n = 422)                                   Australia (n = 193)                            USA (n = 421)

Rank          Drug                               %           Drug                               %           Drug                               %

 1            MDMA (all)                         56          MDMA (all)                         60          MDMA (all)                         53
 2            Cannabis (all)                     51          MDMA powder                        47          MDMA powder                        45
 3            MDMA powder                        43          Cannabis (all)                     34          LSD                                45
 4            Cannabis skunk                     39          LSD                                33          Cannabis (all)                     34
 5            LSD                                29          MDMA pills                         27          NBOMe (all)                        29
 6            Cannabis resin                     29          Cocaine                            25          2C (all)                           27
 7            MDMA pills                         29          Cannabis skunk                     24          Magic mushrooms                    27
 8            2C (all)                           23          2C (all)                           16          Cannabis skunk                     24
 9            2C-B                               22          Amphetamine (all)                  16          DMT                                24
10            Cannabis grass                     21          NBOMe (all)                        15          25I-NBOMe                          22
11            Prescription drugs (all)           18          Prescription drugs (all)           15          MDMA pills                         21
12            Ketamine                           17          DMT                                15          Prescription drugs (all)           20
13            NBOMe (all)                        13          Cannabis grass                     14          2C-B                               18
14            DMT                                11          2C-B                               13          Cannabis resin                     17
15            25I-NBOMe                          11          Magic mushrooms                    13          25C-NBOMe                          16
16            Benzodiazepines                    10          Amphetamine                        13          Ketamine                           15
17            Magic mushrooms                     9          25I-NBOMe                          12          Benzodiazepines                    12
18            Cocaine                             9          Ketamine                            9          Methoxetamine                      11
19            Amphetamine (all)                   9          25C-NBOMe                           9          2C-E                               11
20            Amphetamine                         9          Benzodiazepines                     9          Cannabis grass                     10

Base sample = respondents who usually buy their own drugs (including ‘legal highs’) and report having consumed drugs that were purchased through
SR (n = 1060; missing = 24; sample for analysis = 1036). Definition of composite variables: 3,4-methylenedioxy-N-methylamphetamine (MDMA)
(all) = MDMA powder or MDMA pills. Cannabis (all) = cannabis skunk or cannabis grass or cannabis resin or cannabis oil. N-benzyl-oxy-methyl (NBOMe)
(all) = 25I-NBOMe or 25C-NBOMe or 25B-NBOMe. Prescription drugs (all) = benzodiazepines or opioid pain killers or dexamphetamine or ritalin or
viagra or buprenorphine or etizolam or methadone or zopliclone or modafinil or tramadol. Amphetamine (all) = amphetamine or methamphetamine. 2C
(all) = 2C-C or 2C-D or 2C-T-7 or 2C-B or 2C-E or 2C-I or 2C-P. DMT = N,N-dimethyltryptamine; LSD = lysergic acid diethylamide.



across countries and lysergic acid diethylamide (LSD) in                   ratings’ (60, 64, 65). Compared to respondents from the
the top five. Drugs from the 2C family were ranked in the                  United Kingdom, both Australian and US respondents
top six to eight across countries. Cocaine, amphetamines                   were significantly more likely to favour using SR due to
and N-benzyl-oxy-methyl (NBOMe) were ranked differ-                        lower prices and inadequate access to drugs through
ently across countries. Cocaine was ranked sixth in Aus-                   own networks (see Table 4). Moreover, compared to UK
tralia, while ranking 18th in the United Kingdom and                       respondents, the respondents from the United States were
outside the top 20 for the United States. Similarly,                       more likely to report using SR due to access to a wider
amphetamines (including methamphetamine) was                               range of drugs and anonymity. No other statistically
ranked ninth in Australia, 19th in the United Kingdom                      differences between each of the three countries were
and outside the top 20 for the United States. In contrast,                 observed.
NBOMe (all types) was ranked fifth in the United States,                       Table 4 also presents adjusted odds ratios after taking
10th in Australia and 13th in the United Kingdom.                          into account the collection of covariates highlighted in
                                                                           Table 1. Overall, no new significant relationships were
Why purchase from SR?                                                      identified. However, the significant result in the unad-
                                                                           justed model, between Australia and the United Kingdom
We provided respondents with eight reasons for why they
                                                                           for using SR due to better access to drugs, was lost; and
had consumed drugs purchased from SR (see Table 4).
                                                                           the significant relationship between the United States and
The top four reasons for purchasing from SR were in the
                                                                           the United Kingdom for using SR as the prices were lower
same rank order across countries (with percentages pre-
                                                                           was weakened.
sented in order of United Kingdom, Australia and United
States): (i) ‘SR has a wider range of drugs than I can
                                                                           Why not purchase from SR?
usually access’ (75, 77, 89), (ii) ‘SR drugs are better
quality than I can normally access’ (72, 72, 77), (iii) ‘it is             Respondents who had heard of SR but had not purchased
more convenient to order drugs online’ (67, 69, 69), and                   were asked for reasons why they had not yet purchased
(iv) ‘I feel more comfortable buying from sellers with high                (Table 5). The most common response across all countries

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Table 4 Logistic regressions predicting reasons for using Silk Road (SR) (n = 1060).

                                                                                      Unadjusted odds ratios                Adjusted odds ratios
Reasons for use                                                                       OR                                    OR*

SR prices are lower                                                                   (n = 1060)                            (n = 1044)
UK                                                                                    1.00                                  1.00
Australia                                                                             2.14 (1.52, 3.02)b                    3.37 (2.29, 4.97)b
USA                                                                                   1.63 (1.24, 2.14)b                    1.46 (1.10, 1.94)a
*Retained covariates: age, age2, heterosexual
SR has a wider range of drugs than I can usually access                               (n = 1060)                            (n = 1001)
UK                                                                                    1.00                                  1.00
Australia                                                                             0.91 (0.62, 1.34)                     1.08 (0.70, 1.67)
USA                                                                                   2.37 (1.63, 3.43)b                    2.31 (1.56, 3.44)b
*Retained covariates: age, sex, degree, work-study
It is more convenient to order drugs online                                           (n = 1060)                            (n = 1060)
UK                                                                                    1.00                                  1.00
Australia                                                                             1.04 (0.72, 1.49)                     1.04 (0.72, 1.49)
USA                                                                                   0.93 (0.70, 1.23)                     0.93 (0.70, 1.23)
*Retained covariates: nil
I want to avoid physically meeting with drug dealers                                  (n = 1060)                            (n = 1001)
UK                                                                                    1.00                                  1.00
Australia                                                                             1.24 (0.88, 1.73)                     0.92 (0.63, 1.34)
USA                                                                                   0.89 (0.68, 1.16)                     0.80 (0.60, 1.08)
*Retained covariates: age, age2, sex, heterosexual, clubber
SR drugs are better quality than I can usually access                                 (n = 1060)                            (n = 1030)
UK                                                                                    1.00                                  1.00
Australia                                                                             1.03 (0.71, 1.49)                     1.34 (0.89, 2.03)
USA                                                                                   1.34 (0.99, 1.82)                     1.26 (0.90, 1.76)
*Retained covariates: age, heterosexual, clubber, work-study
I feel more comfortable buying from sellers with high ratings                         (n = 1060)                            (n = 993)
UK                                                                                    1.00                                  1.00
Australia                                                                             0.86 (0.61, 1.21)                     0.76 (0.53, 1.10)
USA                                                                                   1.09 (0.83, 1.45)                     0.94 (0.70, 1.27)
*Retained covariates: sex, degree, clubber
I don’t have adequate access to drugs through my own networks                         (n = 1060)                            (n = 1035)
UK                                                                                    1.00                                  1.00
Australia                                                                             1.86 (1.32, 2.62)b                    1.44 (1.00, 2.08)
USA                                                                                   2.12 (1.61, 2.79)b                    1.90 (1.41, 2.54)b
*Retained covariates: age, clubber
It is more anonymous to buy through SR                                                (n = 1060)                            (n = 1034)
UK                                                                                    1.00                                  1.00
Australia                                                                             1.31 (0.94, 1.83)                     1.18 (0.83, 1.67)
USA                                                                                   1.57 (1.20, 2.06)a                    1.38 (1.04, 1.83)a
*Retained covariates: heterosexual, clubber

Base sample = respondents who usually buy their own drugs (including ‘legal highs’) and report having consumed drugs that were purchased through
SR (n = 1060; missing = 53; sample for analysis = 1007). Dependent variable = respondent reports this statement as a reason they or someone pur-
chased drugs through SR on their behalf. *Covariates retained had a P-value less than 0.10. See Table 1 for definitions of covariates. aP < 0.01;
b
  P < 0.001.




(with percentages reported in order of the United                         were significantly more likely to favour ‘fear of being
Kingdom, Australia and the United States) was ‘I have                     caught’ as a reason for not purchasing drugs from SR.
adequate access to drugs through my own networks’ (63,                    There was no significant difference in the odds ratio
67, 68) and the next most common response was ‘I fear                     between the United States and Australia. Compared to
being caught by police/customs if drugs are sent to my                    respondents from the United Kingdom, US respondents
own address’ (41, 51, 53). Compared to respondents from                   were significantly more likely not to use SR to buy drugs as
the United Kingdom, both Australian and US respondents                    they found accessing Bitcoins too difficult, were concerned

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Table 5 Logistic regressions predicting reasons for not using Silk Road (SR) (n = 3445).

                                                                                             Unadjusted odds ratios           Adjusted odds ratios
Reasons for not using                                                                        OR                               OR*

I have adequate access to drugs through my own networks                                      (n = 3634)                       (n = 3484)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.83 (0.70, 0.97)                0.85 (0.71, 1.01)
USA                                                                                          0.96 (0.81, 1.14)                1.06 (0.88, 1.27)
*Retained covariates: age, degree, clubber
I fear being caught by police/customs if drugs are sent to my own address                    (n = 3634)                       (n = 3599)
UK                                                                                           1.00                             1.00
Australia                                                                                    1.50 (1.28, 1.75)c               1.65 (1.39, 1.96)c
USA                                                                                          1.67 (1.42, 1.96)c               1.62 (1.37, 1.92)c
*Retained covariates: age, age2
Bitcoins are too difficult to get                                                            (n = 3634)                       (n = 3442)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.53 (0.43, 0.65)c               0.72 (0.57, 0.90)b
USA                                                                                          1.69 (1.41, 2.02)c               1.53 (1.27, 1.85)c
*Retained covariates: age, age2, sex
I am concerned about getting ripped off                                                      (n = 3634)                       (n = 3599)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.96 (0.80, 1.15)                0.96 (0.79, 1.17)
USA                                                                                          1.42 (1.19, 1.70)c               1.44 (1.20, 1.73)c
*Retained covariates: age, age2
I don’t understand the technologies well enough                                              (n = 3634)                       (n = 3392)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.88 (0.71, 1.07)                0.97 (0.77, 1.21)
USA                                                                                          0.97 (0.79, 1.19)                0.97 (0.78, 1.20)
*Retained covariates: age, sex, degree
SR prices are too high                                                                       (n = 3634)                       (n = 3530)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.29 (0.20, 0.43)c               0.32 (0.21, 0.47)c
USA                                                                                          1.71 (1.33, 2.20)c               1.49 (1.13, 1.97)b
*Retained covariates: age, clubber
Buying on SR is too much effort                                                              (n = 3634)                       (n = 3599)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.65 (0.54, 0.79)c               0.92 (0.75, 1.12)
USA                                                                                          1.46 (1.22, 1.73)c               1.27 (1.06, 1.52)c
*Retained covariates: age
No reason, I just haven’t gotten around to it                                                (n = 3634)                       (n = 3382)
UK                                                                                           1.00                             1.00
Australia                                                                                    0.94 (0.78, 1.12)                0.95 (0.79, 1.15)
USA                                                                                          0.86 (0.72, 1.04)                0.81 (0.67, 0.99)a
*Retained covariates: sex, degree, white

Base sample = respondents who usually buy their own drugs (including ‘legal highs’) and have heard of the SR, but have not bought drugs from SR.
Dependent variable = respondent reports this statement as a reason they have not purchased drugs through SR. *Covariates retained had a P-value less
than 0.10. See Table 1 for definitions of covariates. aP < 0.05; bP < 0.01; cP < 0.001.


about being ripped off, thought prices for drugs on SR                          Table 5 also presents adjusted odds ratios accounting
were too high and believed using SR to purchase drugs to                    for the covariates highlighted in Table 1. The only new
be too much effort. By contrast, compared to UK respond-                    significant relationship identified was between respond-
ents, Australian respondents were less likely to indicate                   ents from the United States compared to UK respondents.
accessing Bitcoins was difficult, less likely to consider SR                US respondents were significantly less likely to indicate
prices as being too high and less likely to indicate that                   that they ‘hadn’t gotten around’ to purchasing drugs
accessing drugs via SR was too much effort. No other                        from SR. However, the significant result in the unadjusted
statistically differences were observed between each of the                 model between Australia and the United Kingdom for not
three countries.                                                            using SR to purchase drugs because accessing Bitcoins

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was weakened, as was the difference between US respond-       e-commerce trends: access to a wider variety and better
ents compared to UK respondents in suggesting that SR         quality of product offerings, the convenience of online
prices are too high. The significant difference between       shopping and access to more information about the prod-
Australian respondents and UK respondents in consider-        ucts and the vendors/companies selling them. Further
ing purchasing drugs from SR to be too much effort was        research is required to understand more clearly how the
lost after adjusting for significant covariates.              use of this new method of accessing drugs occurs along-
                                                              side other buying mechanisms, such as open street
                                                              markets, network or social supply markets and other
DISCUSSION                                                    online purchasing, such as purchase of pharmaceuticals
This study is the first published description of a large      through websites, and the extent to which SR buyers
global sample of drug users who were asked about their        engage in e-commerce more generally.
consumption of drugs purchased through an online drug
marketplace. Data from the unadjusted model suggested         Country-specific differences
that, in rank order, those respondents least likely to hear   Differences in the kinds of drugs bought from SR by
of SR were first from the United Kingdom, then Australia      country appear to reflect drug trends in those countries.
and then the United States. Furthermore, in rank order,       For example, cocaine and amphetamines were purchased
those most likely to have consumed drugs from SR were         more commonly in Australia. Availability of cocaine
respondents from the United States, followed by the           through traditional markets in Australia is relatively low
United Kingdom and then Australia. This pattern               and prices relatively high [21], indicating an unmet
remained even after adjusting the model to account for        demand which may explain the attraction of cocaine to
age, sex, employment status, educational attainment,          Australian buyers. Australia has the highest prevalence
ethnicity, sexual orientation and clubbing behaviour.         of amphetamine use in the world [22], perhaps because
Across the three countries, MDMA was the most com-            of its relatively low access to cocaine. Regular ampheta-
monly purchased drug, followed by cannabis, LSD and           mine users in Australia may continue to seek this drug
the 2C family. Cocaine and amphetamine were purchased         through SR. Also, emerging evidence from the United
more commonly in Australia, whereas the NBOMe family          States [23–25] suggests that the NBOMe series is of
were more commonly reported in the United States. Glob-       growing concern in that country, a trend we see reflected
ally, the most common reasons for purchasing from SR          in the current findings.
were wider range, better quality, greater convenience and         After controlling for demographic differences, Aus-
the use of vendor rating systems. Australians and Ameri-      tralians and Americans were more likely to be motivated
cans were more likely to be motivated by SR’s lower prices    by SR’s lower prices compared with the British. These
and by inadequate drug access through their own               findings accord with Australian research which has com-
sources, compared with the British. Across countries, the     pared SR prices with street market prices for common
most common reasons for not purchasing from SR were           substances, finding that prices from international SR
adequate drug access and fear of being caught. Austral-       vendors were significantly less than street market prices
ians and Americans were more likely to avoid SR pur-          [15]. Of those who did not purchase from SR, Australians
chase due to fear of being caught. Americans were more        and Americans were more likely to avoid SR purchase due
likely to be deterred from using SR by high prices, diffi-    to fear of being caught. These findings may reflect
culty obtaining Bitcoin and concern about being ripped        reduced perceptions of effective law enforcement activity
off.                                                          in the United Kingdom, which may have more difficulty
                                                              policing drugs through the post given its relatively porous
Fit with wider e-commerce trends                              borders with Europe, as well as prominent deterrence
                                                              campaigns in Australia and the United States.
Retailing and consumer research using large-scale
surveys has explored the motivations of online shoppers
                                                              Limitations
and the predictors of satisfaction with the online shopping
experience. Szymanski & Hise [19] produced a conceptual       The main limitation of this study is the non-
model of e-satisfaction which included convenience,           representative sampling method. It is not possible to esti-
quality and variety of product offerings and product infor-   mate the extent to which the samples within each
mation, site design and financial security. Chiang &          country are representative of the general population in
Dholakia [20] found that convenience and product type         each country. Given the findings presented here, and the
influenced intention to engage in online shopping. In this    growing use of cryptomarkets to purchase drugs online,
study, we found that the most commonly mentioned              additional research is needed; ideally, research that has a
reasons for using SR to buy drugs fitted with wider           probabilistic sampling design. Nevertheless, the method

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